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 Dear Judge Carter:
 I was 12 years old, often fantasized about playing at World Series little league baseball even
 though knowing I was already too old to be in that league. One day, while playing baseball in the
 street, an older kid pitched a 75-mph ball right in the back of my head. I suffered brain injury
 causing life-long of slow thought processing. This added challenge to my already struggling
 academics at school. Two years after moving to the States, I got into a motorcycle accident
 which resulted in amputating my left leg just below the knee. With both brain and physical
 injuries, I ended up working as a skilled blue collar-worker.
 When Jason was born, I thought I could raise him a lot better than I was raised. Nevertheless
 Jason also struggled in school. I tried very hard to keep him focused on school work but Jason
 has continue struggled to the end of high school.
 Finding college subjects uninterested, He decided to find his longing in the military by joining
 the Marines as a reservist. He fit in ok for those years in the US Marine Corp and was able to
 move up in his ranks as a sergeant.
 We raised our children as Christians and Jason started to question the truth in Christianity as he
 moved up his life into adulthood. Therefore he began to explore other religions and found Islam
 to be more truthful compared to Christianity seeing how many so called Christians go to church
 on Sundays and behave like atheists rest of the week.
 Jason wanted to be a devoted Muslim, he prayed in Arabic 5 times a day and followed Qur’an’s
 teaching. During Ramadan, Muslims are required as a religious obligation to give charity; as a
 new Muslim, Jason started to communicate with other Muslim, getting ideas on how to donate
 to the Muslim families in need. Jason made quite a few Muslim friends on the internet because
 he speaks Russian and Arabic at the time. Jason communicated freely with these people on the
 internet.
 My wife and I were shocked when the FBI and the police SWAT team busted our front door and
 pointed automatic weapons at us on May 20th, 2020. I really did not have any clue how what
 Jason was doing would lead to this.
 Jason came home on bail after spent 14 months in Santa Ana Jail. He continued in his search for
 the truth and discovered some flaws in Islam belief and turned to Catholicism. More and more
 research later, he is now a Lutheran.
 During Jason’s period of home arrest, he was finally diagnosed with severe Autism; which
 explains many of his behaviors and struggles. We as a family are committed to help him all we
 can so he could become a productive member of the society. For almost three years Jason’s
 mother and I have been committed to making sure he followed every rule that was imposed. I
 assure you that we will continue to make sure that Jason does not return to the behaviors that got
 him here
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 Mr. Carter, we know that you are a fair and just person after seeing you delivered sentences to
 other convicted. Jason is not a criminal by nature; he is a patient with a mental disability, who
 needs guidance and symptom management. Therefore, we pled to you to make this period of
 home arrest counted as time served so we can continue helping him finishing the college
 education.
 Very truly yours
 Charlie Fong
 Jason Fong’s father
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